4:16-cr-03033-RGK-CRZ      Doc # 114   Filed: 02/07/17   Page 1 of 4 - Page ID # 727




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,              )
                                       )
                   Plaintiff,          )                 4:16CR3033
                                       )
            v.                         )
                                       )             MEMORANDUM
MICHAEL H. MELCHIOR and                )              AND ORDER
PEGGY A. BRENNAN,                      )
                                       )
                   Defendants.         )
                                       )

       Magistrate Judge Zwart has issued a Findings and Recommendation (Filing
107) that Defendants’ motions to suppress (Filings 57 & 74) be denied. Defendants
have filed objections (Filings 109 & 111) to the Findings and Recommendation. After
de novo review, and because Magistrate Judge Zwart has thoroughly and correctly
analyzed the facts and the law, I shall adopt the judge’s Findings and
Recommendation. However, I shall address a few matters for purposes of clarity.

                                   Traffic Stop

       The crux of the defendants’ objections to Magistrate Judge Zwart’s Findings
and Recommendation involves Officer Mayo’s stop of the defendants’ vehicle based
on his observation—confirmed by repeated stopwatch testing—that the defendants’
RV was following other vehicles too closely in violation of Neb. Rev. Stat. § 60-
6,140(1) (Westlaw 2016) (“The driver of a motor vehicle shall not follow another
vehicle more closely than is reasonable and prudent, and such driver shall have due
regard for the speed of such vehicles and the traffic upon and the condition of the
roadway.”).

       “Any traffic violation, however minor, provides probable cause for a traffic
stop.” United States v. Bloomfield, 40 F.3d 910, 915 (8th Cir. 1994) (en banc).
4:16-cr-03033-RGK-CRZ       Doc # 114     Filed: 02/07/17   Page 2 of 4 - Page ID # 728




Further, a traffic stop based on a vehicle following too closely is a valid traffic stop.
United States v. Beck, 140 F.3d 1129, 1134 (8th Cir. 1998) (Ark.); United States v.
Lyton, 161 F.3d 1168, 1170 (8th Cir. 1998) (Neb.); United States v. Poulack, 82 F.
Supp. 2d 1024, 1029-30 (D. Neb. 1998) (following another vehicle by less than two
seconds provided valid basis for trooper to stop vehicle for violation of Neb. Rev. Stat.
§ 60-6,140); United States v. Romero, No. 8:09CR104, 2010 WL 378246, at *2 (D.
Neb. Feb. 1, 2010); State v. McGinnis, 608 N.W.2d 605, 609 (Neb. App. 2000)
(officer’s observation that defendant was getting “right up real close to the bumper of
the vehicles ahead of him following way too close—well, less than the two-second
rule . . . . and went on around [the pack]” constituted probable cause to stop driver).

      Therefore, Defendants’ objections based on the stop of the defendants’ vehicle
must be denied.1

                                    Daubert Issue

        The defendants also object to the testimony of Deputy Henkel that his drug dog
alerted and indicated while sniffing the perimeter of the defendants’ vehicle during the
traffic stop—an issue that was part of their motion to suppress, as well as a motion in
limine (Filing 55). At the hearing on which Judge Zwart’s Findings and
Recommendation is based, testimony and other evidence were elicited relevant to both
the defendants’ motions to suppress and their rather all-encompassing motion in
limine, which requested a hearing “to determine . . . the qualifications of a Deputy

      1
         The fact that the actual traffic infractions were not captured on video does not
affect my conclusion. Like Judge Zwart, I find Officer Mayo’s testimony regarding
the basis for the traffic stop credible given his knowledge and experience in making
traffic stops, and I find that Mayo’s observations constituted an objectively reasonable
basis upon which he could have believed that a traffic infraction had occurred. See
United States v. Maldonado, No. CR15-4091, 2016 WL 3004653, at *5 (N.D. Iowa
May 24, 2016) (lack of video evidence showing traffic violation “does not establish
that any officers testified falsely”).
                                           2
4:16-cr-03033-RGK-CRZ        Doc # 114      Filed: 02/07/17    Page 3 of 4 - Page ID # 729




Henkel [the dog handler] as a witness and/or the admissibility of testimony to be
offered by Deputy Henkel regarding the drug dog . . . . This hearing is also based
upon the United States Supreme Court decision in Daubert v. Merrell Dow
Pharmaceutical, [5]09 U.S. 579 (1993).” (Filing 55.)

      Judge Zwart did not make an explicit recommendation on the defendants’
motion in limine—perhaps because Deputy Henkel was not characterized as a Fed. R.
Evid. 702 “expert” to which Daubert applies or because it is far from clear that a
Daubert challenge is appropriate in these circumstances.2 Nevertheless, to the extent

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         See Florida v. Harris, 133 S. Ct. 1050, 1057-58 (2013) (rejecting any
requirement for a detailed checklist of proof of reliability or special procedures for dog
sniffs in probable cause hearings; “evidence of a dog’s satisfactory performance in a
certification or training program can itself provide sufficient reason to trust his alert.
If a bona fide organization has certified a dog after testing his reliability in a controlled
setting, a court can presume (subject to any conflicting evidence offered) that the
dog’s alert provides probable cause to search. . . . A defendant, however, must have
an opportunity to challenge such evidence of a dog’s reliability . . . .”); United States
v. Gadson, 763 F.3d 1189, 1203 (9th Cir. 2014) (district court did not err in admitting
government’s dog-sniff expert testimony without holding Daubert hearing when voir
dire of expert prior to testimony explored expert’s and dog’s training and experience
and when defendant had opportunity to cross-examine expert to contest the adequacy
of the canine certification or training program and to question the circumstances
surrounding the dog’s alert; district court satisfied its “gatekeeping function”); United
States v. Herrera-Osornio, 521 F. App’x 582, 586 (9th Cir. 2013) (unpublished) (“dog
sniffs do not necessarily trigger . . . the district court to conduct a reliability inquiry
under Daubert”; finding dog-sniff evidence reliable based on defendant’s “ample
opportunity to subject the dog’s handler to voir dire and cross-examination”); United
States v. Almeida, No. 2:11-CR-127, 2012 WL 75751, at *11 (D. Me. Jan. 9, 2012),
report and recommendation adopted, No. 2:11-CR-127, 2012 WL 948457 (D. Me.
Mar. 20, 2012), aff’d, 748 F.3d 41 (1st Cir. 2014) (defendant failed to present
authority for idea that government must present Daubert-type evidence to establish
scientific reliability of drug-sniffing training; “courts generally have rejected the
proposition that a Daubert-type scrutiny is appropriate in these circumstances and/or
have held that evidence of a drug detection dog’s training and certification establishes
its reliability” (citing cases)); United States v. Adler, No. 8:08CR354, 2008 WL
                                             3
4:16-cr-03033-RGK-CRZ       Doc # 114     Filed: 02/07/17   Page 4 of 4 - Page ID # 730




that such a motion was appropriate, Judge Zwart clearly took testimony and evidence
related to the motion and discussed the reliability of the drug-sniffing dog and its
handler in the Findings and Recommendation. (Filing 89 at CM/ECF pp. 3-5 (the
defendants argue that the drug dog did not alert and that the drug dog alert should not
be relied upon by the court); Filing 107 at CM/ECF pp. 14-18 (discussing reliability
of drug dog and handler and the pair’s training, certification, and testing scores).) For
the reasons expressed in Judge Zwart’s thorough Findings and Recommendation, I
find that Deputy Henkel’s testimony concerning the dog sniff is relevant, reliable, and
admissible, and the defendants’ motion in limine shall be denied.

      IT IS ORDERED:

      1.     The Findings and Recommendation (Filing 107) is adopted;

      2.  Defendants’ objections (Filings 109 & 111) to Judge Zwart’s Findings
and Recommendation are denied; and

      3.    Defendants’ motion in limine (Filing 55) and motions to suppress (Filings
57 & 74) are denied.

      DATED this 7th day of February, 2017.

                                         BY THE COURT:
                                         s/ Richard G. Kopf
                                         Senior United States District Judge




4816555, at *1 (D. Neb. Nov. 3, 2008) (Gossett, M.J.) (denying defendant’s request
for Daubert hearing challenging use of dog-sniff evidence because “the use of drug
detection dogs has been established as scientifically reliable,” and reliability of drug-
detection dog would be “deemed merged into the defendant’s Motion to Suppress”).
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